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                                                                      1   Jason D. Strabo (SBN 246426)
                                                                          jstrabo@mwe.com
                                                                      2   Jessica A. Mariani (SBN 280748)
                                                                          jmariani@mwe.com
                                                                      3   McDERMOTT WILL & EMERY LLP
                                                                          2049 Century Park East, Suite 3800
                                                                      4   Los Angeles, CA 90067-3218
                                                                          Telephone: (310) 277 4110
                                                                      5   Facsimile: (310) 277 4730
                                                                      6   Jodi L. Benassi (SBN 309048)
                                                                          jbenassi@mwe.com
                                                                      7   McDERMOTT WILL & EMERY LLP
                                                                          275 Middlefield Rd, Suite 100
                                                                      8   Menlo Park, CA 94025
                                                                          Telephone: 650-815-7400
                                                                      9   Facsimile: 650-815-7401
                                                                     10   Attorneys for Defendant
                                                                          LEE KEITH BRETT
                                                                     11
M C D ERMOTT W ILL & E MERY LLP




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                                  ATTO RNEY S AT LAW




                                                                                                          UNITED STATES DISTRICT COURT
                                                       MENLO PAR K




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                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
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                                                                     15   LFP IP, LLC,                                  CASE NO. 2:16-cv-00166
                                                                     16                           Plaintiff,            Hon. Frederick F. Mumm
                                                                     17            v.                                   DEFENDANT LEE KEITH
                                                                     18   LEE KEITH BRETT,                              BRETT’S AMENDED WITNESS
                                                                                                                        LIST
                                                                     19                           Defendant.
                                                                                                                        Pretrial Conference: September 12, 2018
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                                                                                                                        First Day of Trial: October 2, 2018
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                                                                                                                             DEFENDANT’S AMENDED WITNESS LIST
                                                                                                                                          CASE NO. 2:16-CV-00166

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                                                                      1         Pursuant to the Court’s Civil Trial Order dated June 26, 2018, Defendant Lee
                                                                      2   Keith Brett (“Defendant” or “Mr. Brett”) respectfully submits the following
                                                                      3   Amended Witness List:
                                                                      4             1. Lee Keith Brett
                                                                      5         Mr. Brett’s expected testimony will concern the “American Hustler”
                                                                      6   trademark, his company, and the pool industry.
                                                                      7             2. James Harris
                                                                      8         Mr. Harris’ expected testimony will concern the use of the word “hustler” in
                                                                      9   the pool industry and American Hustler clothing.
                                                                     10             3. Larry Flynt
                                                                     11         Mr. Flynt’s expected testimony will concern the history and use of the
M C D ERMOTT W ILL & E MERY LLP




                                                                     12   Hustler trademarks at issue in this action; the development of retail and apparel
                                  ATTO RNEY S AT LAW
                                                       MENLO PAR K




                                                                     13   brands; and the registration of other trademarks using the word “hustler” not owned
                                                                     14   by Plaintiff.
                                                                     15             4. Tina Ryoo*
                                                                     16         Ms. Ryoo’s expected testimony will concern the licensing, sales, and
                                                                     17   distribution of Plaintiff’s clothing; Hustler Hollywood; and use of the Hustler
                                                                     18   trademarks at issue in this action.
                                                                     19             5. Phillip Del Rio*
                                                                     20         Mr. Del Rio’s expected testimony will concern the retail sales and
                                                                     21   distribution of Plaintiff’s clothing; Hustler Hollywood; and use of the Hustler
                                                                     22   trademarks at issue in this action.
                                                                     23             6. Tony Cochi*
                                                                     24         Mr. Cochi’s expected testimony will concern Plaintiff’s internet sales,
                                                                     25   distribution, and licensing agreements; Hustler Hollywood; and use of the Hustler
                                                                     26   trademarks at issue in this action.
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                                                                                                                -1-          DEFENDANT’S AMENDED WITNESS LIST
                                                                                                                                          CASE NO. 2:16-CV-00166
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                                                                      1         Pursuant to Local Rule 16-5, witnesses designated with an * shall be called
                                                                      2   only if the need arises. Defendant reserves the right to call additional witnesses not
                                                                      3   named herein as necessary for rebuttal and/or impeachment, and otherwise reserves
                                                                      4   the right to amend, add to, or withdraw witnesses from the foregoing list.
                                                                      5         With the exception of Larry Flynt, Tina Ryoo, Phillip Del Rio, and Tony
                                                                      6   Cochi, all of whom are believed to be employees or agents of Plaintiff, the
                                                                      7   witnesses on this list may be contacted through counsel for Defendant.
                                                                      8
                                                                          Dated: August 22, 2018                 Respectfully submitted,
                                                                      9
                                                                                                                 McDERMOTT WILL & EMERY LLP
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M C D ERMOTT W ILL & E MERY LLP




                                                                                                                 By: /s/ Jason D. Strabo
                                                                     12                                            Jason D. Strabo
                                  ATTO RNEY S AT LAW




                                                                                                                   Attorneys for Defendant
                                                       MENLO PAR K




                                                                     13                                            LEE KEITH BRETT
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                                                                                                                                         CASE NO. 2:16-CV-00166
